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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )         4:07CR3036-2
             Plaintiff,                   )
                                          )
      vs.                                 )
                                          )         ORDER
JOSE M. LLAMAS,                           )
                                          )
             Defendant.                   )

      IT IS ORDERED that:

      1.     The defendant’s unopposed motion to continue entry of plea is granted.

      2.     The hearing on the defendant’s anticipated plea of guilty is rescheduled
before the undersigned to Tuesday, May 6, 2008, at 1:00 p.m., in Courtroom No. 1,
United States Courthouse and Federal Building, 100 Centennial Mall, North, Lincoln,
Nebraska.

       3.    For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. sec. 3161(h)(1)(I)&(h)(8)(A)(B).

      March 27, 2008.                         BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
